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NORTHERN DlSTRlCT OF FLOR|DA
PENSACOLA DlVlSlON

CARG|LL, lNC.,

P|aintiff, C.d$_wé/ mC/Z/MT

v. CaSe No. 5¥955’9‘92=M=GHEMT
G.R. GA|NER TUG, et al,

Defendants.

QB_DLE

TH|S MATTER is before the Court upon Plaintiff CARG|LL, lNC.’s (“Cargi|l”)
Unopposed Motion to Consolidate Civil Actions (doc. 13). This action arises from
a maritime casualty involving the sinking of Cargill’s barge NACM 98103 off the coast
of F|orida in September 2004. A|so pending before this Court is another civil action
arising from the same events as those of the instant case.1 ln that case, MAR-K
MARlNE SERVlCES, lNC., a defendant in the instant action, and MAR-K TOWlNG,
lNC., seek exoneration from and/or limitation of liability related to the sinking of
Cargill’s barge NACM 98103. Upon review, the Court has determined that these
cases present common questions of law and fact and should be consolidated. w
Fed. R. civ. P. 42(a). "

 

1§§@ ln re Mar-K Marine Services, lnc. and Mar-K Towing, lnc., as owners/oberators/ owners pro hac
vice ofthe M/V G. R. Gainer, for Exoneration from and/or Lim itation of Liabilitv. Case No. 5:050v61-MCR/EMT
filed on March 23, 2005. By order entered in that case on Apri| 8, 2005, the Court directed Mar-K Marine
Services, lnc. and Mar-K Towing, lnc., to show cause why the action for exoneration and limitation of liability
should not have been transferred to the United States District Court for the Eastern District of Louisiana
pursuantto Rule F(9) ofthe Supp|emental Rules for Certain Admiralty and Maritime Claims where the instant
case was pending at that time. Since entry ofthat order, the instant case was transferred from the United
States District C_ourt for the Eastern District of Louisiana to this Court where both of the aforementioned
actions are now pending. '

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Accordingly, it is ORDERED:

1) Plaintiff’s Unopposed Motion to Consolidate Civil Actions (doc. 13) is
GRANTED. The Clerk is directed to CONSOL|DATE Case. No. 5:05cv61
with the instant action,`Case No. 5:05cv92.

2) A|| future pleadings shall be filed in Case No. 5:05cv92-MCR/EMT.

3) The Clerk shall file a copy of this Order in Case No. 5:05cv92 and Case
No. 5:05cv61.

ORDERED on this 16th day of May, 2005.

sl@%WMWJMQM/dawm

M. CASEY RODGERS
United States District Judge

